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 1   KRESTA NORA DALY, SBN 199689
     Rothschild Wishek & Sands, LLP
 2
     901 F Street, Suite 200
 3   Sacramento, CA 95814
     (916) 444-9845
 4
     Attorney for Deleisha Gilbert
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 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,          ) Case No.: 2:03-cr-00371-MCE
                                        )
12               Plaintiff,             ) SECOND AMENDED STIPULATION AND
                                        ) ORDER:EXCLUSION OF TIME
13        v.                            )
                                        )
14   DELEISHA GILBERT,                  )
                                        )
15               Defendant.             )
                                        )
16

17        IT IS HEREBY STIPULATED by and between the parties hereto
18
     through their respective counsel, William S. Wong, Assistant
19
     United States Attorney, attorney for Plaintiff and Kresta Daly,
20
     attorney for defendant Deleshia Gilbert, that the previously
21

22   scheduled hearing date of July 16, 2009, be vacated and the

23   matter set for hearing on September 24, 2009, at 9:00 a.m.
24
          Defense counsel is going on maternity leave and unavailable
25
     until September 24, 2009.
26
     DATED:    July 6, 2009            Respectfully submitted,
27
                                         s/Kresta Daly_____________
28                                     KRESTA DALY
                                       Attorney for Defendant

                                         1
         Case 2:03-cr-00371-JAM-EFB Document 785 Filed 07/15/09 Page 2 of 2


 1                                     DELEISHA GILBERT
 2

 3
                                         s/Kresta Daly_____________
     DATED:   July 6, 2009             WILLIAM WONG
 4                                     Assistant U.S. Attorney
                                       Attorney for Plaintiff
 5

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 8                                  O R D E R

 9        IT IS SO ORDERED.
10

11   DATED: July 14, 2009

12                                  __________________________________
                                    MORRISON C. ENGLAND, JR
13
                                    UNITED STATES DISTRICT JUDGE
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